                         CASE 0:22-cr-00008-PJS-BRT Doc. 4 Filed 01/26/22 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     MICHAEL THOMAS PRALL,                     Criminal No. 22-08 (PJS/BRT)
                            Defendant,

                                           APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X)Ad Prosequendum           ( )Ad Testificandum

Name of Detainee: MICHAEL THOMAS PRALL
Detained at (custodian): WASHINGTON COUNTY JAIL

The government is requesting the Federal Bureau of Investigation to transport detainee.

Detainee is:            a.)    (X) charged in this district by: Indictment
                        Charging Detainee With: Bank robbery
            or          b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  (X) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on January 26, 2022 at 1:30 p.m. in the courtroom of the Honorable Hildy Bowbeer.

Dated: January 25, 2022                                                             ___/s/ Alexander Chiquoine_______________________
                                                                                    ALEXANDER D. CHIQUOINE, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X)Ad Prosequendum                                          ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States Marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.
                                                                                                                     January 25, 2022
____________________________________    ______________________________________
 THE HONORABLE ELIZABETH COWAN WRIGHT DATE
UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Male
     Booking or Fed. Reg.#:                                                                            DOB:              xx/xx/1978
     Facility Address:                     Washington County Jail                                      Race:
                                                                                                       FBI #:
     Facility Phone:
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)

                                                                                                                              Writ issued 1/26/2022
